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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Emergent Capital, Inc.

2.   All other names debtor
     used in the last 8 years
                                  FKA Imperial Holdings, Inc.
     Include any assumed          FKA Imperial Holdings, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1200 North Federal Highway
                                  Suite 200
                                  Boca Raton, FL 33432
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Delaware
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Emergent Capital, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5242

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Red Reef Alternative Investments,LLC                            Relationship            Subsidiary
                                                  District   Delaware                      When                              Case number, if known


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Debtor   Emergent Capital, Inc.                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       Emergent Capital, Inc.                                                                       Case No.
                                                                                Debtor(s)                 Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-35064 .

2. The following financial data is the latest available information and refers to the debtor's condition on            05.31.2020    .

 a. Total assets                                                                                     $                175,122,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                115,856,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0

 d. Number of shares of preferred stock                                                                         0                                    0

 e. Number of shares common stock                                                                    159,263,140                                   14
    Comments, if any:


3. Brief description of Debtor's business:
   Emergent Capital, Inc., through its subsidiaries, owns a 27.5% equity interest in White Eagle Asset Portfolio, LP, which
   entity holds a valuable portfolio of life settlement assets.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   PJC Investments, LLC/ Pat Curry; Evermore Global Value Fund; Sirius International Insuranc Corp.; Opal Sheppard
   Opportunities Fund I LP; Brennan Opportunities Fund I LP; and James G. Wolf




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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  Fill in this information to identify the case:

  Debtor name    Emergent Capital, Inc.
  United States Bankruptcy Court for the:   District of Delaware
                                                                             (State)
                            20-                                                                                                              Check if this is an
  Case number (If known):
                                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                      12/19

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims, on a consolidated basis.


 None [check if applicable]
Name of creditor and complete mailing Name, telephone number, and          Nature of the       Indicate if     Amount of unsecured claim
address, including zip code           email address of creditor            claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                      contact                              (for example,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                           trade debts, bank   unliquidated,   claim amount and deduction for value of collateral or
                                                                           loans,              or disputed     setoff to calculate unsecured claim.
                                                                           professional
                                                                           services, and
                                                                           government
                                                                           contracts)                          Total claim, if   Deduction for     Unsecured claim
                                                                                                               partially         value of
                                                                                                               secured           collateral or
                                                                                                                                 setoff

1 Convertible Unsecured                      Foley & Lardner LLP           5.0% Senior                                                            $67,836,966.00
  Notes Trustee                              Richard J. Bernard, Esq.      Unsecured                                                              plus any
  U.S. Bank National                         90 Park Avenue                Convertible                                                            accrued and
  Association                                New York, New York            Notes due                                                              unpaid interest,
  Attention: Corporate Trust                 10016                         2023                                                                   fees, costs and
  One Federal Street, 10th                   rbernard@foley.com                                                                                   expenses and
  Floor                                      Tel. 212.682.7474                                                                                    other amounts
  Boston, MA 02110                           Fax: 212.687.2329



2 Phyllis & Allan Pohl, Kimberly            Jonathan B. Butler, Esq.       Litigation          Contingent                                         Unliquidated
  Sheris                                    Ciklin Lubitz                                      Unliquidated
  c/o Jonathan B. Butler, Esq.              515 N. Flager Drive, 20th Flr.                     Disputed
  Ciklin Lubitz                             West Palm Beach FL 33401
  515 N. Flager Drive, 20th Flr.            Tel: (561) 832-5900
  West Palm Beach FL 33401                  Fax: (561) 833-4209
                                            E-mail: jbutler@
                                            CiklinLubitz.com
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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

EMERGENT CAPITAL, INC.,                               Case No. 20-_____ (___)

                               Debtor.

                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:            PJC Investments, LLC / Pat Curry
           Address:         204 Woodhew Drive
                            Woodway, TX 76712

           Name:            Evermore Global Value Fund
           Address:         89 Summit Avenue, 3rd Floor
                            Summit, NJ 07901




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                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

EMERGENT CAPITAL, INC.,                                 Case No. 20-_____ (___)

                                 Debtor.


                               LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:

 Name and Last Known Address or                  Security       Number of         Percentage of
   Place of Business of Holder                    Class         Securities          Interest
PJC Investments, LLC/ Pat Curry                Common Stock      32,695,147            20.61%
204 Woodhew Drive
Woodway, TX 76712
Evermore Global Value Fund                     Common Stock      16,710,000            10.53%
89 Summit Avenue
3rd Floor
Summit, NJ 07901
Sirius International Insurance Corp. (publ)    Common Stock      11,185,000            7.05%
(a/c xx138)
Birger Jarlsgatan 57B
SE-113 96 Stockholm
Sweden
Opal Sheppard Opportunities Fund I LP          Common Stock      10,510,000            6.62%
40 Lake Bellevue Drive
Suite 245
Bellevue, WA 98005
Brennan Opportunities Fund I LP                Common Stock      10,200,000            6.43%
1 Sea Breeze Court
Napa, CA 94559
James G. Wolf                                  Common Stock      9,662,701             6.09%
105 Flyway Drive
Kiawah Island, SC 29455
Joe Sarachek / JSARCO, LLC                     Common Stock      7,720,038             4.87%
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178




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 Name and Last Known Address or                  Security       Number of        Percentage of
   Place of Business of Holder                    Class         Securities         Interest
Regents of The University of Michigan          Common Stock      6,975,000             4.40%
5082 Wolverine Tower
3003 S. State Street
Ann Arbor, MI 48109-1287
Sirius International Insurance Corp. (publ)    Common Stock      2,630,000             1.66%
(a/c xx140)
Birger Jarlsgatan 57B
SE-113 96 Stockholm
Sweden
Mimesis Capital Partners LLC                   Common Stock      2,500,000             1.58%
Adam Kalkin
40 Quimby Lane
Bernardsville, NJ 07924
Roy J. Patterson                               Common Stock       616,584              0.39%
River City Management, LLC
13616 California Street
Suite 110
Omaha, NE 68154
Matthew D. Houk                                Common Stock       292,442              0.18%
Horizon Kinetics LLC
470 Park Avenue South
New York, NY 10016
Miriam Martinez                                Common Stock       210,236              0.13%
Emergent Capital, Inc.
1200 North Federal Hwy
Suite 200
Boca Raton, FL 33432
Harvey Werblowsky                              Common Stock       151,823              0.10%
Emergent Capital, Inc.
1200 North Federal Hwy
Suite 200
Boca Raton, FL 33432
Rob Fink                                       Common Stock       25,000               0.00%
34 Wotten Road
Essex Fells, NJ 07021
Gerald Hellerman                               Common Stock        1,811               0.00%
5431 NW 21st Avenue
Boca Raton, FL 33496-33446
Sub-Total                                                       112,085,782            70.64%

Remaining shares held by public holders in street name           46,569,358            29.36%

Grand Total                                                     158,655,140        100.00%




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                        IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 11

EMERGENT CAPITAL, INC.,                           Case No. 20-_____ (___)

                              Debtor.

                          CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




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